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     FOLEY & LARDNER LLP
   2 555 S. Flower St., 33rd Floor
     Los Angeles, CA 90071
   3 Telephone:    213.972.4500
     Facsimile:    213.486.0065
   4 Email:        amcdow@foley.com
   5 [Proposed] Attorneys for Debtors and Debtors in
     Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
   6 INC., and SCOOBUR, LLC

   7

   8                                 UNITED STATES BANKRUPTCY COURT
   9                                   CENTRAL DISTRICT OF CALIFORNIA
  10                                            LOS ANGELES DIVISION
  11
        In re                                                      Case Nos.: 2:19-bk-14989-WB; 2:19-bk-
  12                                                               14991-SB; 2:19-bk-14997-BR
        SCOOBEEZ, et al.1
  13                                                               Chapter 11
                      Debtor and Debtor-in-Possession.
  14
                                                                   PROOF OF SERVICE TO NOTICE OF
  15                                                               EMERGENCY HEARING ON DEBTORS’
                                                                   FIRST DAY MOTIONS
  16

  17
                                                                   Hearing Date:
  18                                                               Date: May 1, 2019
                                                                   Time: 3:00 p.m.
  19                                                               Place: Courtroom 1375
                                                                          255 E. Temple Street
  20                                                                      Los Angeles, CA 90012

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        1
         The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
  28    Scoobeez Global, Inc. (9779); Scoobur, LLC (0343); and Scoobeez (6339). The Debtors’ address is 3463 Foothill
        Boulevard, Glendale, California 91214.

                                    PROOF OF SERVICE TO NOTICE OF EMERGENCY HEARING ON DEBTORS’ FIRST DAY MOTIONS
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   1
                                          PROOF OF SERVICE OF DOCUMENT
   2
         I AM OVER THE AGE OF 18 AND NOT A PARTY TO THIS BANKRUPTCY CASE OR ADVERSARY PROCEEDING.
   3     MY BUSINESS ADDRESS IS: 555 S. FLOWER STREET, SUITE 3300, LOS ANGELES, CA 90071. A TRUE AND
         CORRECT COPY OF THE FOREGOING DOCUMENT ENTITLED: NOTICE OF EMERGENCY HEARING ON
   4     DEBTORS’ FIRST DAY MOTIONS WILL BE SERVED OR WAS SERVED (A) ON THE JUDGE IN CHAMBERS IN
         THE FORM AND MANNER REQUIRED BY LBR 5005-2(D); AND (B) IN THE MANNER STATED BELOW:
   5

   6

   7
        1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
   8    Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
        (date) April 30, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
   9    that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses
        stated below:
  10
                  Ashley M McDow amcdow@foley.com
  11
                  United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov
                  United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
  12

  13                                                                   Service information continued on attached page


  14    2. SERVED BY UNITED STATES MAIL:
        On (date) _____________, I served the following persons and/or entities at the last known addresses in this
  15    bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
        States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
  16    mailing to the judge will be completed no later than 24 hours after the document is filed.
                                                                         Service information continued on attached page
  17
        3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
  18    method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) April 30, 2019, I
        served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
  19    writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
        declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
  20    document is filed.


  21    PERSONAL DELIVERY


  22    Hon. Julia W. Brand
        United States Bankruptcy Court
  23    U.S. Bankruptcy Court
        255 East Temple Street, Suite 1382
  24    Los Angeles, CA 90012
                                                                       Service information continued on attached page
  25
        I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
  26
           April 30, 2019              Sonia Gaeta                                    /s/ Sonia Gaeta
  27       Date                        Printed Name                                   Signature


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                                      PROOF OF SERVICE TO NOTICE OF EMERGENCY HEARING ON DEBTORS’ FIRST DAY MOTIONS
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3. SERVED VIA TELEPHONE OR EMAIL:

Alissa Guler                       App Group International, LLC      AT&T Corp.
c/o Albert G. Stoll, Jr.           85 Broad Street, 17th Floor       c/o CT Corporation
55 Francisco Street                New York, NY 10004                818 Seventh Street, Suite 930
Suite 403                          VIA TELEPHONE                     Los Angeles, CA 90017
San Francisco, CA 94133                                              VIA TELEPHONE
VIA TELEPHONE

AT&T Corp.                         Avitus, Inc.                      Azad Baban
c/o CT Corporation                 c/o David M. Wagner, Esq.         c/o Justin Silverman, Esq.
818 Seventh Street, Suite 930      Crowley Fleck, PLLP               Reisner & King LLP
Los Angeles, CA 90017              P.O. Box 10969                    14724 Ventura Blvd., Suite
VIA TELEPHONE                      Bozeman, MT 59719                 1210
                                   VIA EMAIL                         Sherman Oaks, CA 91403
                                                                     VIA TELEPHONE

Bernardo Parra                     CT Corporation System             De'Von Walker
c/o Mancini Law Group, P.C.        as Representative                 c/o David Yeremian &
7170 W. Grand Avenue               330 N. Brand Blvd., Suite 700     Associates, In
Elmwood Park, IL 60707             Attn: SPRS                        535 N. Brand Blvd., Suite 705
VIA TELEPHONE                      Glendale, CA 91203                Glendale, CA 91203
                                   VIA EMAIL                         VIA TELEPHONE

Deputy General Counsel             GTR Source LLC                    Emil Davtyan
The Hertz Corporation              1006 Monmouth Ave                 Davtyan Professional Law Corp.
8501 Williams Rd., 2DO40           Lakewood, NJ 08701                21900 Burbank Blvd., Suite 300
Estero, FL 33928                   VIA EMAIL                         Woodland Hills, CA 91367
VIA EMAIL                                                            VIA EMAIL

Garo and Aroussiak                 Jacob Lee DeGough                 Jassim M. Addal
Dekirmendjian                      c/o Glenn Law Firm                c/o Law Office of Arash
c/o Bulldog Commercial Real        1017 William D. Tate Ave.         Alizadeh
Estate                             Suite 100                         7545 Irvine Center Drive
Attn: John Raudsep, President      Grapevine, TX 76051               Suite 200
3634 Woodcliff                     VIA TELEPHONE                     Irvine, CA 92618
Sherman Oaks, CA 91403                                               VIA TELEPHONE
VIA EMAIL

Hop Capital                        Lockton Companies, LLC            Maria Salgado
323 Sunny Isles Blvd., Suite 501   Attn: Nate Mundy, COO             c/o Nicholas J. Tsakas, Esq.
Sunny Isles Beach, FL 33160        Lockton Insurance Brokres,        4267 Marina City Drive
VIA EMAIL                          LLC                               Suite 512
                                   725 S. Figueroa, 35th Floor       Marina Del Rey, CA 90292
                                   Los Angeles, CA 90017             VIA TELEPHONE
                                   VIA TELEPHONE




                                                   NOTICE OF EMERGENCY HEARING ON DEBTORS’ FIRST DAY MOTIONS
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LeClairRyan                      Minas Sarafian                      Pex Cards
44 Montgomery Street, Suite      c/o Simonian & Simonian, PLC        462 7th Avenue
3100                             144 N. Glendale Ave., #228          21st Floor
San Francisco, CA 94104          Glendale, CA 91206                  New York, NY 10018
VIA TELEPHONE                    VIA EMAIL                           VIA EMAIL


Marwan Griffin                   Queen Funding LLC                   Steve & Millessa Oberhauser
c/o Aegis Law Firm, PC           2221 NE 164 ST                      c/o Sanders Bajwa LLP
9811 Irvine Center Drive         North Miami Beach, FL 33160         919 Congress Ave., Suite 750
Suite 100                        VIA TELEPHONE                       Austin, TX 78701
Irvine, CA 92618                                                     VIA EMAIL
VIA TELEPHONE

Nate Mundy, COO                  The Hertz Corporation               Salvador Rivas
Lockton Companies, LLC-          Attn: Casey Rodriguez, Division     c/o Law Offices of Daniel A.
Pacific Seri                     VP                                  Kaplan
Lockton Insurance Brokres, LLC   2 Schoephoester Road                555 W. Beech St., Suite 230
725 S. Figueroa, 35th Floor      Windsor Locks, CT 06096             San Diego, CA 92101
Los Angeles, CA 90017            VIA TELEPHONE                       VIA EMAIL
VIA EMAIL

Premier Business Bank            Kirk Davis                          Steven M. Spector
700 S. Flower Street, #2000      c/o Law Offices of Daniel A.        BUCHALTER, A Professional
Los Angeles, CA 90017            Kaplan                              Corporati
VIA TELEPHONE                    555 W. Beech St., Suite 230         1000 Wilshire Blvd., Suite 1500
                                 San Diego, CA 92101                 Los Angeles, CA 90017
                                 VIA EMAIL                           VIA EMAIL

Roy Castelanos                   Hillair Capital Management          Hamed Yazdanpanah &
c/o Employees' Legal             LLC                                 Associates
Advocates, LLP                   330 Primrose Road                   9454 Wilshire Blvd., 6th Floor
811 Wilshire Blvd.               Suite 660                           Beverly Hills, CA 90212
Suite 800                        Burlingame, CA 94010                VIA TELEPHONE
Los Angeles, CA 90017            VIA TELEPHONE
VIA EMAIL




                                                       -4-
                                  EMERGENCY MOTION FOR ORDER AUTHORIZING THE USE OF CASH MANAGEMENT SYSTEM
      4846-7966-5045.1
